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                   EXHIBIT 2
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.




                DEFENDANTS’ NOTICE OF INTENT TO SERVE
                             SUBPOENAS
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         PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil

  Procedure, Defendants Kessler, Damigo, Parrott, Identity Evropa, and Traditionalist Workers

  Party, by and through their undersigned counsel, hereby provide notice that they intend to serve

  the attached Subpoenas to Testify at a Deposition in a Civil Case directed to Wes Bellamy,

  Wendy Lewis, Hutton Marshall, and Josh Lefebvre.




  Dated: June 15, 2020

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                                      CERTIFICATE OF SERVICE

        I hereby certify I served the following attorneys and pro-se parties as
via electronic mail as follows:




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